Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 1 of 22

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

MATTHEW FERO, et al.,

 

DECISION AND ORDER
Plaintiffs,
v. 6215-CV-06569 EAW
EXCELLUS I-IEALTH PLAN, INC., et al.,
Defendants.
INTRODUCTION

By Decision and Order filed February 22, 2017, this Court granted in part and denied
in part the defendants’ motions to dismiss pursuant to Federal Rules of Civil Procedure
lZ(b)(l) and lZ(b)(6). (Dkt. 140). Plaintiffs now move to reconsider, pursuant to F ederal
Rules of Civil Procedure 59(e), 60(b)( l) and (2), and Local Rule of Civil Procedure 7(d)(3),
the aspect of the Court’s Decision and Order that granted, Without prejudice, the EXcellus
Defendants’l motion to dismiss the claims of the four non-misuse Plaintiffs (Matthew Fero,
DWayne Church, Therese Boomershine, and Brenda Caltagarone) pursuant to Rule
lZ(b)(l). (Dkt. 142). Alternatively, Plaintiffs ask the Court to deny the EXcellus
Defendants’ motion to dismiss plaintiff Matthew Fero’s breach of contract and unjust
enrichment claim for lack of standing, or provide Plaintiffs “the right to replead

jurisdictional facts, or, at a minimum, give Plaintiffs[] permission to file a motion for leave

 

l As explained in the Court’s prior Decision and Order, “Excellus Defendants” refers

to all defendants except for Blue Cross and Blue Shield Association.
_ 1 _

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 2 of 22

to file an amended complaint” pursuant to Federal Rule of Civil Procedure lS(a)(Z). (]d.).
The Excellus Defendants oppose Plaintiffs’ motion. (Dkt. 156).

F or the reasons that follovv, the Court grants the motion for reconsideration and,
upon reconsideration, denies the Excellus Defendants’ motion to dismiss pursuant to Rule
lZ(b)(l) to the extent that it sought dismissal of the non-misuse Plaintiffs’ claims. All
other aspects of the Court’s Decision and Order, including its grant, in part, of the motions
filed pursuant to Rule lZ(b)(é), remain intact.

BACKGROUND

The factual background and procedural history relevant to this motion are set forth
in detail in the Court’s prior Decision and Order, With Which familiarity is assumed (Dkt.
14()). The Court provides only a brief summary, as Well as additional background
information as relevant to this motion.

This case arises out of a data breach involving Excellus Health Plan, Inc., a
healthcare provider. According to Plaintiffs, on December 23, 2013, hackers gained access
to Excellus’ computer network systems, Which stored the personal information belonging
to millions of individuals (Dkt. 99 (Consolidated Master Complaint at ‘H‘[l 52, 13 l, 133)).
During this data breach, the hackers had access to individuals’ names, dates of birth, social
security numbers, mailing addresses, telephone numbers, member identification numbers,
financial payment information (including credit card numbers), and medical insurance
claims information (Id. at M 1-3, 52, 134). Plaintiffs, Who allege various injuries arising
out of the data breach, bring a putative class action against eight defendants, including the

Excellus Defendants, and assert claims under various federal and state laws.

_2_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 3 of 22

Following the data breach, several potential victims filed lawsuits alleging various
injuries. (Dkt. 9-2 at 3). The Court consolidated the lawsuits, appointed interim lead
counsel, and directed Plaintiffs to file a consolidated master complaint (Dkt. 27; Dkt. 28;
Dkt. 80).

On April 15, 2016, Plaintiffs filed the Consolidated Master Complaint (“CMC”).
On May 3 l, 2016, the Excellus Defendants filed a motion to dismiss. (Dkt. 107). Plaintiffs
responded in opposition to the Excellus Defendants’ motion to dismiss on July 7, 2016.
(Dkt. 122). On August 8, 2016, the Excellus Defendants filed a reply in further support of
their motion to dismiss (Dkt. 133). Oral argument was held before the undersigned on
September 8, 2016. (Dkt. 139).

On February 22, 2017, the Court issued a Decision and ()rder in which it concluded,
inter alia, that certain Plaintiffs-the so-called “non-misuse” Plaintiffs who did not allege
that they had suffered any misuse of their personally identifiable information after the data
breach_did not allege an injury-in-fact based on the alleged harm of increased risk of
identity theft. (Dkt. 140 at 22-23). The Court reasoned that those Plaintiffs’ risk of future
harm was not certainly impending because none of those Plaintiffs had alleged any misuse
in the three years since the data breach began, and that their alleged injuries depended on
a chain of possibilities about the actions of independent actors. (See id.). The Court also
pointed out, based on extra-pleading materials submitted by Plaintiffs, that it was unclear
whether patient data had been exfiltrated, and, by extension, it was not clear whether cyber
attackers breached the Excellus network in order to commit identity fraud. (See id.). The

Court further found that the four non-misuse Plaintiffs’ alternative bases for standing were

_3_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 4 of 22

insufficient (]d. at 24-28). Therefore, the Court granted the Excellus Defendants’ motion
to dismiss the four non-misuse Plaintiffs (Fero, Church, Boomershine, and Caltagarone)
for lack of standing on the basis that they did not allege an injury-in-fact. (]d. at 29). The
Court dismissed those plaintiffs’ claims without prejudice. ([a’.).

Gn March 22, 2017, Plaintiffs moved for reconsideration of that portion of the
Court’s Decision and Order that dismissed the non-misuse Plaintiffs’ claims. (Dkt. 142).
On May 3, 2017, the Excellus Defendants responded in opposition to Plaintiffs’ motion for
reconsideration (Dkt. 156). Plaintiffs filed a reply in further support of their motion on
May l7, 2017. (Dkt. 166). The parties have also submitted multiple letters identifying
supplemental authority for their respective positions, each of which the Court has
considered in rendering this decision. (See Dkt. 174; Dkt. 175; Dkt. 176; Dkt. 177; Dkt.
178; Dkt. 179; Dkt. 180).

DISCUSSION
I. Standard for Reconsideration
Plaintiffs bring this motion for reconsideration pursuant to Federal Rules of Civil

Procedure 59(e) and 60(b)(l) and (2). (Dkt. 142).2

 

2 Plaintiffs also cite former Local Rule of Civil Procedure 7(d)(3), which addressed
the procedure and time to file a motion for reconsideration: “A motion for reconsideration
or reargument, unless governed by Fed. R. Civ. P. 60, shall be treated as falling within the
scope of Fed. R. Civ. P. 59(e). Thus, the motion must be filed and served no later than
twenty-eight (28) days after the entry of the challenged judgment, order, or decree and,
pursuant to Fed. R. Civ. P. 6(b)(2), no extension of time will be granted. rl`he motion will
be decided on the papers, absent a Court order scheduling oral argument.” L.R. Civ. P.
7(d)(3). The most recent amendments to this Court’s Local Rules of Civil Procedure
eliminated Local Rule 7(d)(3).

_4_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 5 of 22

Rule 54 of the F ederal Rules of Civil Procedure defines “judgment” as “a decree
and any order from which an appeal lies.” Fed. R. Civ. P. 54(b). Rule 59(e) governs a
“motion to alter or amend a judgment.” Fed. R. Civ. P. 59(€). Rule 60(b) provides that the
Court “may relieve a party . . . from a final judgment, order, or proceeding.” Fed. R. Civ.
P. 60(b). According to the Advisory Committee’s notes on the 1946 Amendment of Rule
60:

The addition of the qualifying word “final” emphasizes the character of the

judgments, orders or proceedings from which Rule 60(b) affords relief; and

hence interlocutory judgments are not brought within the restrictions of the

rule, but rather they are left subject to the complete power of the court

rendering them to afford such relief from them as justice requires
Fed. R. Civ. P. 60(b) advisory committee’s note to 1946 amendment (emphasis added); see
also Trcmsaero, lnc. v. La Fuerzu Aerea Bolivicma, 99 F.3d 53 8, 541 (Zd Cir. 1996) (“By
its own terms, Rule 60(b) applies only to judgments that are final.”).

The Court’s prior Decision and Order is not a judgment as defined in Rule 54(a), in
that it is not a “decree . . . [or] order from which an appeal lies.” Fed. R. Civ. P. 54(a); see
also 28 U.S.C. § 1291 (stating that the courts of appeals “shall have jurisdiction of appeals
from all final decisions of the district courts of the United States”); Coopers & Lyl)rcmd v.
Livesay, 437 U.S. 463, 467 (1978) (noting that a final decision “ends the litigation on the
merits and leaves nothing for the court to do but execute the judgment” (citation omitted)).
The prior Decision and Order did not adjudicate all of Plaintiffs’ claims; it dismissed
certain claims and certain parties without prejudice, but it ordered that others remain. (See

Dkt. 140). “To state it another way, ‘finality does not attach to an order that dismisses

some plaintiffs but not all.”’ Ashmore v. CGI Grp., ]rzc., 860 F.Bd 80, 86 (Zd Cir. 2017)

_5_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 6 of 22

(quoting C. Wright & A. Miller, Federal Practice and Procedure § 3914.7 (2d ed. Apr. 2017
Update)). Thus, Rules 59(e) and Rule 60(b) are procedurally defective means for seeking
reconsideration of the Decision and Order. See Briclgeforth v. McKeon, No. 09-CV-6162P,
2012 WL 3962378, at *2 (W.D.N.Y. Sept. 10, 2012) (concluding that reconsideration of
an interlocutory order was not available under Rule 60(b)); D.A. Elz`a Corzstr. Corp. v. U.S.
Fz'a’. & Guar. Co., No. 94-CV-0190E(H), 1997 WL 215526, at *2 (W.D.N.Y. Apr. 16,
1997) (concluding that Rules 59(e) and 60(b) do not apply to interlocutory orders, but
noting that “a district court has the discretion to reconsider and, if appropriate, revise an
interlocutory order at any time prior to final judgment”); Burke v. Warreh Cty. Sherijj"s
Dep ’t, 916 F. Supp. 181, 183 (N.D.N.Y. 1996) (finding that Rule 60(b) motion was
“improper procedural vehicle” for request to reconsider decision granting summary
judgment in favor of some defendants).

Nonetheless, separate and apart from the procedural avenues set forth in Rules 59(e)
and 60(b), the Court has the power to reconsider and modify interlocutory orders prior to
the entry of judgment See Fed. R. Civ. P. 54(b) (“[A]ny order or other decision . . . that
adjudicates fewer than all the claims . . . does not end the action as to any of the claims or
parties and may be revised at any time before the entry of a judgment adjudicating all the
claims and all the parties’ rights and liabilities.”); Williams v. Couhty of Nassczu, 779 F.
Supp. 2d 276, 280 & n.2 (E.D.N.Y. 2011) (“A district court retains absolute authority to
reconsider or otherwise affect its interlocutory orders any time prior to appeal.”), u]j"cl, 581

F. App’x 56 (2d Cir. 2014).

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 7 of 22

The Second Circuit has “limited district courts’ reconsideration of earlier decisions
under Rule 54(b) by treating those decisions as law of the case.” O]j‘icz`al Comm. of
Uhsecured Creditors of the Color Tile, Iric. v. Coopers & Lybrcmd, LLP, 322 F.3d 147,
167 (2d Cir. 2003). Under the law of the case doctrine, “when a court decides upon a rule
of law, that decision should continue to govern the same issues in subsequent stages in the
same case.” Arizono v. California, 460 U.S. 605, 618 (1983). A district court has
"‘discretion to revisit earlier rulings in the same case, subject to the caveat that ‘where
litigants have once battled for the court’s decision, they should neither be required, nor
without good reason permitted, to battle for it again.”’ Coopers & Lybrarzd, LLP, 322 F.3d
at 167 (quoting Za’cmok v. Glidden Co., 327 F.2d 944, 953 (2d Cir. 1964)). Decisions
considered under Rule 54(b) “may not usually be changed unless there is ‘an intervening
change of controlling law, the availability of new evidence, or the need to correct a clear
error or prevent a manifest injustice.”’ Icl. (quoting Virgirz Atl. Az'rways, Ltcl. v. Nat’l
Medz'atioh Bd., 956 F.2d 1245, 1255 (2d Cir. 1992)). With these principles in mind, the
Court turns to Plaintiffs’ arguments
II. The Second Circuit’s Decision in Whalen v. Michaels Stores, Inc.

In their reply brief, Plaintiffs seek reconsideration based on the Second Circuit’s
decision in Whuleh v. Michaels Stores, ]rzc., 689 F. App’x 89 (2d Cir. 2017) (summary
order). (See Dkt. 166 at 15-16). Although Plaintiffs cited Whaleh as a basis for
reconsideration only for the first time in reply, Plaintiffs did so understandably: the Second
Circuit issued its decision in Wholeri on May 2, 2017, just one day before Defendants filed

their response to the motion for reconsideration (Dkt. 156) and approximately two weeks

_7_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 8 of 22

before Plaintiffs filed their reply brief (Dkt. 166). Since briefing on the motion for
reconsideration concluded, the parties have submitted to the Court several letters
identifying supplemental authority in support of their respective positons on
reconsideration, all of which have been considered by the Court. (See Dkt. 174; Dkt. 175;
Dkt. 176; Dkt. 177; Dkt. 178; Dkt. 179; Dkt. 180). In one letter, Defendants discuss
Whalen and attempt to distinguish it from the instant case. (See Dkt. 176 at 2-3).
Defendants argue that “Whalen is distinguishable in that it is a payment card case,” and
that “the court denied standing based on an alleged increased risk of identity theft in a case
where the plaintiff, unlike the four non-misuse plaintiffs here, was able to actually allege
that her own information had fraudulently been misused.” (Ia'. at 3).

ln its prior Decision and Order, this Court observed that the Second Circuit had not
weighed in on the issue of whether increased risk of identity theft is sufficient for standing
in a data breach case but recognized that it was poised to do so in Whalen, an appeal that
was pending at that time. (Dkt. 140 at 15). This Court also observed that courts_both
circuit and district courts-have split over that issue and reached different results (]a’.).
As for the circuit courts, at that time, the Sixth, Seventh, and Ninth Circuits had found
standing based on increased risk of identity theft, while the Third and Fourth Circuits had
found such injury too speculative to warrant standing. (Ia’.). Compare Galarz'a v.
Nationwia’e Mut. Ins. Co., 663 F. App’x 384, 388 (6th Cir. 2016) (finding standing based
on increased risk of identity theft), andLewert v. P.F. Chang’s China Bistro, ]nc., 819 F.3d
. 963, 967 (7th Cir. 2016) (same), and Remijas v. Neiman Marcus Grp., LLC, 794 F.3d 688,

693 (7th Cir. 2015) (same), and Krottner v. Starbucks Corp., 628 F.3d 1139, 1142-43 (9th
_ 8 _

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 9 of 22

Cir. 2010) (same), with Beck v. McDonald, 848 F.3d 262, 275 (4th Cir.) (finding increased
risk of identity theft insufficient for standing), cert. denied sub nom Beck v. Shulkin, 137
S. Ct. 2307 (2017), and Reilly v. Ceridz'an Corp., 664 F.3d 38, 43 (3d Cir. 2011) (same).

Since the Court issued its prior Decision and Order on February 22, 2017, the circuit
split has deepened. ln a decision issued on August 1, 2017, the D.C. Circuit held that the
increased risk of identity theft was sufficiently imminent to establish standing in the wake
of a health insurer’s data breach. See Attias v. Carefz`rst, lnc., 865 F.3d 620, 629-30 (D.C.
Cir. 2017). Shortly thereafter, in a decision issued on August 30, 2017 , the Eighth Circuit
concluded that increased risk of future identity theft was insufficient to constitute an injury
in fact. See In re SuperValu, [nc., 870 F.3d 763, 769 (8th Cir. 2017). This issue may be
headed to the Supreme Court, as a petition for a writ of certiorari has been filed in Attias
and is currently pending See Petition for Writ of Certiorari, CareFirst, Inc. v. Attias, (No.
17-641), 2017 WL 5041488 (filed Gct. 30, 2017).

Whalen, the Second‘Circuit’s only guidance on this standing issue, was issued after
this Court issued its Decision and Order. Whalen was an appeal of the district court’s
dismissal of Whalen’s complaint against l\/lichaels Stores, lnc., for lack of standing 689
F. App’x at 89. The district court concluded that Whalen failed to allege a cognizable
injury resulting from the exposure of her credit card information after a data breach at a
Michaels store. Id. Whalen alleged in her complaint that, after she had used her credit
card to make purchases at a Michaels store, her credit card twice was presented to attempt
to make fraudulent purchases in Ecuador. See id at 90. She further alleged that, shortly

thereafter, she cancelled her credit card; accordingly, she did not actually incur any

-9_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 10 of 22

fraudulent charges on the card or ever become liable for payment of the charges ]d. The
district court found that these allegations were insufficient to establish standing, and the
Second Circuit affirmed in a summary order. ]d. at 90-91. In so concluding, the Second
Circuit pointed out that Whalen “does not allege how she can plausibly face a threat of
future fraud,”-one of her proffered theories of injury-“because her stolen credit card
was promptly canceled after the breach and no other personally identifying information-
such as her birth date or Social Security number-is alleged to have been stolen.” ]d. at
90-91. The implication of this observation is that, if Whalen had alleged the theft of
personally identifying information, she would have had standing based on a threat of future
fraud. See id.

ln support of this conclusion, the Second Circuit favorably cited the Sixth Circuit’s
decision in Galaria, 663 F. App’x at 386, and summarized its holding as follows:
“[P]laintiffs had standing to bring data breach claims when the breached database
contained personal information such as ‘names, dates of birth, marital statuses, genders,
occupations, employers, Social Security numbers, and driver’s license numbers.”’ Whalen,
689 F. App’x at 91 (quoting Galaria, 663 F. App’x at 386). The Second Circuit also
distinguished Whalen from the Seventh Circuit’s cases, stating “[t]hese shortcomings in
Whalen’s complaint distinguish her case from two Seventh Circuit cases, both involving
vendor data breaches, upon which she heavily relies, Remijas v. Neiman MarcusGrp., LLC,
794 F.3d 688 (7th Cir. 2015), and Lewert v. P.F. Chang’s China Bistro, Inc., 819 F.3d 963

(7th Cir. 2016).” Id. at 91 n.l.

_10_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 11 of 22

As Defendants point out, Whalen is a payment card case in which the plaintiff did
not have standing based on an increased risk of identity theft. However, Whalen’s
favorable citations to Galarz'a, Remijas, and Lewert suggest that the Second Circuit would
follow the approach to the standing issue adopted by the Sixth and Seventh Circuits, which
have both found standing based on increased risk of identity theft. 1ndeed, a district court
in the Southern District of New York has interpreted it that way when concluding, in a data
breach case, that an imminent risk of future identity theft satisfies the injury-in-fact
requirement See Sackin v. TransPerfect Glob., Inc., No. 17 CIV. 1469 (LGS), 2017 WL
4444624, at *2 (S.D.N.Y. Oct. 4, 2017) (“The harms alleged in the Complaint do not stretch
imminence beyond its breaking point. The allegations that Defendant has provided
Plaintiffs’ names, addresses, dates of birth, Social Security numbers and bank account
information directly to cyber-criminals creates a risk of identity theft sufficiently acute so
as to fall comfortably into the category of ‘certainly impending.’ The most likely and
obvious motivation for the hacking is to use Plaintiffs’ [personally identifiable information]
nefariously or sell it to someone who would. Circuit courts addressing this issue
consistently have held that Article 111 does not require Plaintiffs to wait for their identities
to be stolen before seeking legal recourse.” (citations omitted)). That court pointed to
Whalen as evidence that the Second Circuit would join the Sixth Circuit, Seventh Circuit,
and~_more recently_the D.C. Circuit in holding that increased risk of identity theft is
sufficiently imminent to establish standing. Id. at *2-3. However, Whalen does not
explicitly reach that holding; rather, it is only implied. See Whalen, 689 F. App’x at 90-

91.

_11_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 12 of 22

l\/loreover, reliance on Whalen as a basis for reconsideration is problematic for an
additional reason: it is an unpublished summary order. Second Circuit Local Rule 32.1.1
states that “[r]ulings by summary order do not have precedential effect.” 2d Cir. Local
Rule 32.1.1(a). Relying on that rule, “courts in this Circuit have repeatedly denied motions
for reconsideration that are based on unpublished summary orders because summary
orders, according to the Second Circuit’s own rules, do not represent an ‘intervening
change of controlling law’ that warrant reconsideration.” Hastings Dev., LLC v. Evanston
[ns. Co., No. 14-CV-6203(ADS)(AKT), 2016 WL 3632708, at *4 (E.D.N.Y. lune 29,
2016) (citing Hoefer v. Bd. ofEduc. of the Enlarged City Sch. Dist. of Middletown, 820
F.3d 58, 65 (2d Cir. 2016) (rejecting appellees’ reliance on a summary order because “an
unpublished summary order . . . is not precedential” in an appeal from partial grant of
summary judgment and from dismissal for failure to seek timely reinstatement after
conditional dismissal order)) (collecting cases from district courts in the Second Circuit
denying reconsideration based on a summary order). To justify reconsideration, the change
in the law must be controlling

Despite the fact that Whalen-a summary order_-does not expressly state that the
Second Circuit would find increased risk of identity theft sufficient for standing, this Court
concludes (1ike the Sackz'n court) that Whalen strongly implies that the Second Circuit
would follow those circuits that have held that a risk of future identity theft is sufficient to
plead an injury in fact. The Court recognizes that the issue is unresolved, and reasonable
jurists may disagree, as evidenced by the circuit split. Indeed, this Court initially concluded

otherwise, and another panel of the Second Circuit squarely addressing the issue might take

_17__

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 13 of 22

a different stance, as might the Supreme Court, should it choose to grant the pending
petition for certiorari in Attias. Nevertheless, this Court finds Whalen’s implications
compelling

When initially confronted with the Excellus Defendants’ Rule 12(b)(1) motion
directed to the non-misuse Plaintiffs, this Court concluded that resolution of the motion
was a close call. With no Second Circuit precedent on point, this Court determined that
the non-misuse Plaintiffs’ allegations of the threat of future identity theft did not cross the
line to establish standing based on what this Court perceived to be the more persuasive
reasoning of the other circuits to have addressed the issue. However, had the Second
Circuit decided Whalen before this Court issued its prior Decision and Order, this Court
would have been compelled to resolve the challenge to the non-misuse Plaintiffs’ standing
differently. Each of the non-misuse Plaintiffs alleged that his or her personal
infonnation-including “names, dates ofbirth, social security numbers, mailing addresses,
telephone numbers, member identification, financial information, credit card numbers, and
medical claims information”-had been “compromised” in the data breach. (See CMC at
1111 2-3, 17, 30, 33, 36). Moreover, Plaintiffs’ allegations suggest that nefarious purposes
motivated the cyberattack, given that hackers had been targeting healthcare companies and
that the types of personal information stored on the Excellus networks are particularly
valuable for committing identity theft and fraud. (See id. at 1111 130, 146-67; see also id. at
11 l67(e) (“All of these injuries suffered by the Plaintiffs and Class Members are a direct
and proximate result of the Excellus data breach and include . . . the imminent and certain

impending injury flowing from fraud and identify theft posed by their PII and PHI being
_ 13 _

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 14 of 22

placed in the hands of unknown third parties.”)). lt follows from Whalen that allegations
such as those would persuade the Second Circuit to find an injury in fact. As a result, and
to avoid “manifest injustice,” Coopers & Lybrand, LLP, 322 F.3d at 159, the Court
concludes that reconsideration is warranted as an exercise of its discretion. Cf. Allstate Ins.
Co. v. Valley Physz`cal Med. & Rehab., P.C., 555 F. Supp. 2d 335, 337 (E.D.N.Y. 2008)
(“The decision to grant or deny a motion for reconsideration lies squarely within the
discretion of the district court.”) (citing Devlin v. Transp. Comm ’ns Unz'on, 175 F.3d 121,
132 (2d Cir. 1999)).
III. Evidence about the Dark Web and the Mandiant Report

This Court’s conclusion that reconsideration is warranted based on Whalen is further
buttressed by the evidence that Plaintiffs offer in support of their motion for
reconsideration As discussed below, although the evidence is not newly discovered, the
Court concedes that if it had the benefit of the information at the time it issued its prior
Decision and Order, it would have impacted its decision about the non-misuse Plaintiffs’
standing

A. Plaintiffs’ Arguments

Plaintiffs seek reconsideration “based on newly discovered evidence that would
reasonably be expected to have altered this Court’s holding that the non-misuse Plaintiffs
§ lacked standing.” (Dkt. 143 at 6). According to Plaintiffs, “[t]he newly discovered
evidence shows the non-misuse Plaintiffs are at a substantial risk of identity theft and/or
that this harm is certainly impending thereby establishing injury-in-fact.” (Id.). Plaintiffs

point to two categories of newly discovered evidence: an expert affidavit describing the

_14_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 15 of 22

results of Deep and Dark Web searches, and an expert affidavit describing the Mandiant
1ntrusion Report. (Id. at 20).
1. Dark Web Searches

First, Plaintiffs point to evidence that the protected health information (“PHI”)
and/or personally identifiable information (“Pll”)3 of three out of the four non-misuse
Plaintiffs has been found for sale on the Deep and Dark Web (collectively, “Dark web”),
as described in the affidavit of Todd Jones, Vice President of New Product Development
for 1ntersections, lnc., who was retained by Plaintiffs’ counsel on luly 26, 2016, to
investigate the exposure of Plaintiffs’ Pll and PHI on the Dark web. (Dkt. 143 at 20; Dkt.
44 (“Matarazzo Decl.”) at 11 14; Dkt. 146 (“J ones Aff.”) at 1111 1-2). According to Jones,
“[t]he Deep Web is the portion of the internet that is not indexed by standard search
engines” (Jones Aff. at 11 4), while “[t]he Dark Web is a subset of the Deep Web, and
consists of sites that are inaccessible to most users, often. requiring specialized encryption
software and other tools that mask the locations and identities of their users” (id. at 11 5).
lones further states that “[t]he Deep and Dark Web are commonly used for criminal
activity” (id. at 11 7) and “the sale and purchase of P11 and PHl compromised in a data

breach” (id. at 11 8).

 

3 According to the CMC, PHI and PII are among the types of personal information

allegedly compromised in the data breach. (CMC at 11 2). “The Personal 1nformation
compromised in the Excellus data breach includes names, dates of birth, social security
numbers, mailing addresses, telephone numbers, member identification, financial
information, credit card numbers, and medical claims information belonging to millions of
adults and minor children.” (Id. at 11 3).

_1~5_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 16 of 22

According to Jones, his investigation revealed that some non-misuse Plaintiffs’ data
is being sold on the Dark web. (J ones Aff. at 1111 12-13, 16). 1 ones states, “[s]earching the
Deep and Dark Web Data Breach Data Base, leaked documents were found in which P11
and PHI about Plaintiffl\/latthew Fero is exposed,” that is, his chiropractic medical records
(J ones Aff. at 11 12). J ones also states that the search revealed that Plaintiff Boomershine’s
email address and password account credentials, dated both October 2013 and June 2016,
were on the Dark web, along with the email and password account credentials of six misuse
Plaintiffs (Id. at 11 13(g)). Moreover, Jones’ second search revealed “additional exposed
P11 data for fifteen of the twenty Plaintiffs and exposed documents for one other Plaintiff,
which included PHl”; among the exposed information was one plaintiff` s social security
number. (Id. at 11 16).

Plaintiffs’ counsel represents that, “[o]n August 16, 2016, plaintiffs received a draft
report with the results of high level Deep and Dark Web . . . searches for named plaintiffs’
P11 and PHI.” (Matarazzo Decl. 11 15). At that time, the Excellus Defendants’ motion to
dismiss was still pending (See Dkt. 140 (issued February 22, 2017)).

2. Mandiant 1ntrusion Report

Second, Plaintiffs point to the Mandiant 1ntrusion Report (“Mandiant Report”),
arguing that it shows that “Plaintiffs’ P11 was targeted, collected and exfiltrated from
Excellus’s network by the attackers.” (Dkt. 143 at 5; see also id. at 21-25). ln advancing
this argument, Plaintiffs rely on the analysis of 1 ohn Jorgensen, the ChiefExecutive Officer
of Sylint Group, a cybersecurity firm. (Dkt. 145 (“Jorgensen Aff.” at 1111 1-2)). Plaintiffs

retained Jorgensen on October 14, 2015, to provide Plaintiffs with cybersecurity expertise

_16_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 17 of 22

in this matter. (Matarazzo Decl. 11 16; Jorgensen Aff. at ‘1[ 10). Jorgensen received the
Mandiant Report on May 21, 2016, and discussed the Mandiant Report and its findings
with Plaintiffs’ counsel in July, August, and December 2016. (Jorgensen Aff. at 1111 11-12).
Jorgensen’s analysis of the Mandiant Report and discussion of the evidence that, in his
view, indicates that the hackers exfiltrated P11 and PHI for the purpose of, inter alia,
committing identity theft, are set forth in an affidavit that is, in part, filed under seal. (See
Dkt. 163 (Sealed Jorgensen Aff.)). Based on his experience in cybersecurity and his review
of the evidence in the Mandiant Report, Jorgensen stated, “it is my opinion to a reasonable
degree of scientific certainty that P11 and PHl maintained on the Excellus network was
targeted, collected, exfiltrated and put up for sale o[n] DarkNet by the attacker for the
purpose of, among other things, allowing criminals to purchase the P11 and PHI to commit
identity theft.” (Jorgensen Aff. at ‘[1 40).

B. Defendants’ Arguments

The Excellus Defendants argue that the evidence summarized above is not new, and,
therefore, insufficient to warrant reconsideration of the Court’s Decision and Order. (Dkt.
156 at 25). According to Defendants, Plaintiffs adopted a “wait-and-see approach,”
choosing not to disclose the evidence to the Court until after the Court issued its Decision
and Order_-even though (1) Plaintiffs retained 1 ones in July 2016; (2) J ones first reported
his findings to Plaintiffs in August 2016; (3) Jorgensen received the Mandiant Report in
May 2016; and (4) Plaintiffs’ counsel met with Jorgensen about the Mandiant Report in
July, August, and December 2016. (Id.). Defendants point out that all of those events

occurred before the Court issued its Decision and Order, and most of them occurred before

_17_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 18 of 22

oral argument on the motion to dismiss on September 8, 2016. (Id.). ln Defendants’ view,
Plaintiffs had knowledge of the evidence before argument on the motion to dismiss, and
therefore, the evidence is not new. (Id. at 26).

C. Analysis

Courts in this district apply “the standards of Rule 60(b)(2) . . . where, as here, ‘a
party seeks to avoid the [law of the case] by reopening factual issues based upon new
evidence.”’ Johnson v. Askin Capz'tal Mgmt., L.P., 202 F.R.D. 112, 114 (S.D.N.Y. 2001)
(alteration in original) (quoting Morin v. Trupin, 809 F. Supp. 1081, 1086 (S.D.N.Y.
1993)). A party moving for relief under Rule 60(b)(2) based on newly discovered evidence
must “meet an ‘onerous standard”’ by demonstrating the following:

(1) the newly discovered evidence was of facts that existed [at] the time of

the prior dispositive proceeding, (2) the movant must have been justifiably

ignorant of them despite due diligence, (3) the evidence must be admissible

and of such importance that it probably would have changed the outcome,

and (4) the evidence must not be merely cumulative or impeaching
Id. (quoting United States v. 1nternational Brotherhood of Teamsters, 247 F.3d 370, 392
(2d Cir. 2001)).

The first question is whether Plaintiffs have demonstrated that the two categories of
evidence discussed above-the Dark web searches and the Mandiant Report information-
are newly discovered For evidence to be considered new, it must be “evidence that was
‘truly newly discovered or could not have been found by due diligence.”’ Space Hunters,
lnc. v. UnitedStates, 500 F. App’x 76, 81 (2d Cir. 2012) (quoting United States v. Potamkin

Cadz`llac Corp., 697 F.2d 491, 493 (2d Cir. 1983)). The cited evidence does not meet that

standard By Plaintiffs’ own account, the evidence was available during their briefing on

_13_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 19 of 22

the motion to dismiss, but they did not bring it to the Court’s attention See Yz’ Xz'ang v.
Inovalon Holdz'ngs, [nc., No. 16-CV-4923 (VM), 2017 WL 3208042, at *6 (S.D.N.Y. July
28, 2017) (declining to reconsider denial of motion to dismiss where purportedly new
information was “not evidence that was unavailable to [the d]efendants during their
briefing of the motion to dismiss~they just did not previously raise it”). After Plaintiffs
became aware of the evidence, they could have, at the very least, moved to amend the
complaint on that basis.4

The heart of Plaintiffs’ argument based on newly discovered evidence appears not
to be that the evidence was truly “new” and could not have been found, but rather that

Plaintiffs “had no legal obligation to submit evidence in response to defendants’ facial

 

4 Plaintiffs’ opposition to the motion to dismiss requested leave to amend the

complaint in the event that the Court concluded that Plaintiffs lacked standing or had not
stated a claim. (See Dkt. 122-3 at 51 (“To the extent the Court concludes that Plaintiffs
lack Article 111 standing or have not adequately stated a claim upon which relief can be
granted, Plaintiffs respectfully request leave to amend their pleadings consistent with the
Court’s ruling.”)). Plaintiffs’ cursory request was procedurally defective under the Local
Rules of Civil Procedure. See Wz'3, Inc. v. Actiontec Elecs., 71 F. Supp. 3d 35 8, 363
(W.D.N.Y. 2014) (finding request for leave to amend defective for failure to comply with
Local Rules of Civil Procedure); see also Food Holdings Ltd. v. Bank of Am. Corp., 423 F.
App’x 73, 76 (2d Cir. 2011) (finding district court did not abuse its discretion in denying
leave to amend complaint when request to amend was made “on the final page of their brief
in opposition to defendants’ motion to dismiss, in boilerplate language and without any
explanation as to why leave to amend was warranted” and collecting cases). Local Rule
15(a) provides that “[a] movant seeking to amend or supplement a pleading must attach an
unsigned copy of the proposed amended pleading as an exhibit to the motion,” and Local
Rule l5(b) requires parties represented by counsel to identify the proposed amendments
“through the use of a word processing ‘redline’ function or other similar markings . . . .”
L.R. Civ. P. l5(a), (b). Because Plaintiffs did not comply with the Local Rules, the Court
did not abuse its discretion in denying this “cursory or boilerplate request[] . . . made solely
in a memorandum in opposition to a motion to dismiss.” Malin v. 1111 Capital, Ltd., 312 F.
App’x 400, 402 (2d Cir. 2009) (citation omitted). lf Plaintiffs wished to seek leave to
amend, they should have done so through a procedurally compliant motion.

_19_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 20 of 22

motion to dismiss.” (Dkt. 166 at 10). "l-ilowever, the procedural question of whether
Plaintiffs were required to bring the evidence to the Court’s attention is different from
whether the evidence was newly discovered for purposes of reconsideration

Setting aside the fact that the evidence is not newly discovered-which makes it a
procedurally defective basis for reconsideration_the Court acknowledges that it certainly
supports an argument that cyber attackers committed the data breach and stole Plaintiffs’
information, including that of at least some of the non-misuse Plaintiffs, for nefarious
reasons and to commit identity fraud While not justifying reconsideration in and of itself,
particularly because the information was known by Plaintiffs at the time of the argument
before this Court on the motions to dismiss and should have been brought to the Court’s
attention at that time, the existence of this evidence reinforces the Court’s conclusion that,
based on the Second Circuit’s decision in Whalen, reconsideration is warranted in order to
avoid a manifest injustice Had the Court had the benefit of all this additional information
when it rendered the Decision and Order, it would have reached a different conclusion_
and it does so now.

IV. Plaintiffs’ Remaining Arguments Based on a Need to Correct Clear Error of
Law

Plaintiffs argue that the Court’s Decision and Order contained certain clear errors
of law with respect to the dismissal of the four non-misuse Plaintiffs Specifically,
Plaintiffs argue that the Court committed a clear error of law when it considered extra-
pleading materials when resolving the Excellus Defendants’ motion to dismiss (Dkt. 143

at 5). Plaintiffs also argue that the Court committed a clear error of law when it denied the

_2()_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 21 of 22

non-misuse Plaintiffs the opportunity to replead to provide additional jurisdictional facts
(]a’.). They argue that the Court, in its application of the test for standing set forth in Khan
v. Children ’s National Health System, 188 F. Supp. 3d 524, 531 (D. l\/ld. 2016), overlooked
an element that confers standing on the non-misuse Plaintiffs, and that it should have found
that PlaintiffFero had an independent source of standing: his breach of contract claim. (Id.
at 5-6).

Because the Court has already concluded that reconsideration is warranted, it need
not address Plaintiffs’ remaining arguments in support of reconsideration based on
purported clear errors of law. However, the Court notes that, even if Plaintiffs are correct
that it was error for the Court to consider the extra-pleading materials, those materials were
not essential to the Court’s conclusion that the non-misuse Plaintiffs did not have an injury
in fact. Separate and apart from those materials, the Court’s conclusion was based on the
non-misuse Plaintiffs’ failure to allege any misuse of their personal information, which
undercut their assertion that the harm of future identity theft is certainly impending The
Court also found that the asserted harm was speculative because it relied on a chain of
possibilities about the actions of independent actors The purpose of citing to the extra-
pleading materials-which state that it is unclear whether the hackers exfiltrated the data
and therefore do not give a clear indication that the hackers breached the network in order
to commit identity fraud_was merely to bolster the Court’s conclusion that the harm was
too speculative

1n the end, the Court’s conclusion in the Decision and Order, and the Court’s

conclusion now, is a legal one: whether allegations of the threat of fiiture harm based on

_21_

Case 6:15-cv-06569-EAW Document 181 Filed 01/19/18 Page 22 of 22

misappropriation of personal identifying information such as those of the non-misuse
Plaintiffs are sufficient for Article 111 standing In its Decision and Order, this Court
concluded that they were not_but now, with the Whalen decision, this Court concludes
that, at least at this stage of the proceedings the non-misuse Plaintiffs’ claims should be
allowed to proceed The Mandiant Report’s findings cited in the initial Decision and Order,
much like the additional information that Plaintiffs have now brought to light about the
Dark web, simply reinforce this Court’s conclusion_but in neither case are those factual
matters dispositive Until the Supreme Court or the Second Circuit definitively weighs in,
in this Circuit at least, harm based on the theft of personally identifying information, such
as a social security number or date of birth, as alleged in the CMC, is sufficient to establish
standing
CONCLUSION

For the reasons set forth above, Plaintiffs’ motion for reconsideration is granted
(Dkt. 142), and, upon reconsideration, the Excellus Defendants’ motion pursuant to Federal
Rule of Civil Procedure 12(b)(1) to dismiss the four non-misuse Plaintiffs (Fero, Church,
Boomershine, and Caltagarone) is denied

SO GRDERED.
/”

1 /

t /
,"" \ ," ' / ~ 1
f t /} ""\ i,k/

y - f '““ '-4; il 1 "\A’ `» ) " _ h l il V‘J
ELIzABETHR~. »WoLFoRD \
United States District Judge

Dated: January 19, 2018
Rochester, New York

_22_

